         Case 4:22-cv-00302-RH-MAF Document 65 Filed 09/27/22 Page 1 of 1




                    Instructions for Attorneys completing the electronic version of
                          the Eleventh Circuit Transcript Information Form

An electronic version of this form is made available to simplify completion and transmittal. The
following instructions and guidance are provided.

    1. Access the Transcript Information Form from the forms page of the Northern District of
       Florida website:
       http://www.flnd.uscourts.gov/forms/eleventh-circuit-transcript-information-form

    2. Complete the form electronically using Adobe Acrobat or other PDF editors. The form
       should be signed using the s/ name convention for electronic signatures.

    3. Save the completed form as a PDF document (using the full version of Adobe Acrobat,
       PDF 995, etc.) or “print” the completed form to a PDF file (using programs which only
       have PDF print capabilities). The save option is preferred since it then allows the court
       reporter to complete their portions electronically.

    4. File the form electronically with the district court AND the appeals court using the
       CM/ECF system. For filing in the district court, from the main CM/ECF menu go to:

          Civil or Criminal Events; Appeal Documents; Transcript Request Appeal Part I.

    5. Send the previously saved PDF file (from Step 3) as an email attachment to the
       appropriate official court reporter’s email address:
                    Official Court Reporter                                    Email address
                        Boland, Donna                            donna_boland@flnd.uscourts.gov
                        Hague, Megan                                megan.a.hague@gmail.com
                         Snyder, Lisa                                lisasnydercr@gmail.com
                         Wycoff, Julie                               julieawycoff@gmail.com
                       Contract Reporters                                       via
                          and Retired                         reporter_supervisor@flnd.uscourts.gov

    6. (For CJA Appointed Attorneys). Please remember to create the AUTH-24 for all
       reporters and your CJA-24 voucher for contract reporters once the AUTH-24 is approved
       through the eVoucher system at:
       https://evadweb.ev.uscourts.gov/CJA_fln_prod/CJAeVoucher/




NDFL Ops 1.1 (Rev. 02/22) Eleventh Circuit Transcript Order Information Form Instructions
JJLAdmin/Official/Forms
                                                                                                      Page 1 of 1
